    Case: 1:19-cr-00567 Document #: 120 Filed: 04/22/20 Page 1 of 3 PageID #:578




To:Judge Harry D. Leinenweber, Courtroom 1941
219 South Dearborn Street

Chicago, lL 60604 Fax no. (312) 554-8522



From: Derrick Jones, United States Tax payer Re: Robert Sylvester Kelly, COVID-19 Dear
Honorable Judge Harry D. Leinenweber, I am writing on behalf of Robert Sylvesier Kelly, an inmate
currently being housed at MCC federal prison awaiting trial. I am concerned with his safety and well-
being while in confinement due to the outbreak of coronavirus. . lt has been documented according
to the Federal Bureau of Prisons, that two employees at the MCC in Chicago had tested positive for
the virus. There is much that is not known about this virus and the changes that will be needed in the
prison systems in order to protect the further spread of the virus. Wiih that being said, given the
current conditions of confinement in and of itself, it is likely the virus will spread more rapidly.
lncarcerated individuals are subject    to close contact. There is not a doubt that this is        i   tife
threatening virus and will spread quickly. Therefore, the virus will spread in institutional settings and
conditions including MCC more rapidly': Robert Kelly is a detainee. He is pre trial and has NOT been
convicted of any crime. As part of his pre trial status he should not be subject to the extra risk and
denied his ability to protect him self. Mr Kelly is a NON CONVICTED OFFENDER. Given his current
incarcerated status, it is not likely Mr Kelly will be able to practice social distancing, proper
disinfecting and the best protocol regarding self care. He would be at higher risk due to hiJ age inO
existing health issues. Robert Kelly has not been proven guilty of anything and holding him, in my
opinion, is cruel and unusually punishing. He should not be subject to uneccessary risk when other
restrictions such as house confinement would accomplish the same goal and prevent the potential
risk to his wellbeing. He has no criminal record and is not a violent man . Mr Kelly has not avoided
what he is being accused of. As a presumed innocent man Mr Kelly should be afforded the right to
prepare for his defense with his attorneys without added health risk. Mr Kelly has appeared at every
court date and surrendered to the authorities of his own will, as well ai without incident when
arrested . Mr Kelly is not a flight risk. Eighth Amendment prohibits cruel and unusual punishment. ...
Since detainees have not been convicted, they may not be punished at all until proven guilty. With all
due respect, as a tax paying citizen, a business o*ner in the community and as an ihdividual that
believes that every person has the right to due process of the law I ask thlt you consider the release
of Mr Kelly so that he can without risk prepare for his defense.


Sincerely,
Derrick Lamont Jones

U.S. citizen RESIDENT of lndiana
 Case: 1:19-cr-00567 Document #: 120 Filed: 04/22/20 Page 2 of 3 PageID #:579




FAX
TO: HONORABLE JUDGE HARRY D. LEINENWEBER
            COURT ROOM: 1941
             CHAMBERS: 1946
             FAX# 312-554-8522

RE: ROBERT SYLVESTER KELLY INMATE#09627-035
HELD @ CHICAGO METROPOLITAN CORRECTIONAL
                  CTR


  71 W. VAN BUREN STREET GHICAGO. IL 60605
                                               r- -1S
                                               e,:
                                               =,G
                                               FR
                                               S\    TD
                                               Lr -C
                                               f> r-'
                                               N
                                               \s,
                                               N
                                               T\t



S-a                                  N5 s,-
&'     sE=  _ss7
:3U     F-B
HE S\S                               VO
\u        tr7 7,
ur S  S.g
   x=-..
 "h!
'-fi                                 FY
-$;-gH                               s-t I>
-Ai
                --,
t- 3Pr     -i
     cr s- $'sr
           J_ r>
             \ra
          3s                         9e-                  H
       : \89 >\r                                          Ij"    't"i
       '                       rI-                        ffir
                 S\
                                     C,D
       '.S -\-                            J
                                     \J-- ='              Hil
                                                          $1     i'?r
                                     a                    '+     :-"5i
            -\
                                     t\i C>                      F
        ,'\ -rt                      N'.                   {J    ,'n
                                                          ry$r
                                     \-
                                      \- -,               ;b   ix
                                                          1-,J :tj
                                                                lr
                                         r?                      ilir
       :v
       'r                               .S7
                                        \S
                                                                         Case: 1:19-cr-00567 Document #: 120 Filed: 04/22/20 Page 3 of 3 PageID #:580




                      ry.                  o              ffi
       :=r
       :s
       '-
                      rftc\,
                      \
                                                      $ffift
